923 F.2d 847Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Louella F. BENSON, Plaintiff-Appellant,v.Eugene E. THREADGILL, R.W. Rockhill, Sally Duvall, KennethDuvall, Cynthia King, James A. Covel, BillEdmonston, Edward A. Stevens, John E.Granfield, Peter Trask,Defendants-Appellees,andJ. Howe Brown, Jr., Defendant.
    No. 90-1125.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 7, 1991.Decided Jan. 28, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Albert V. Bryan, Jr., Chief District Judge.  (CA-90-450-A)
      Louella F. Benson, appellant pro se.
      Eugene E. Threadgill, Cynthia King, Peter Trask, Appellees.  Susan Laiken Kruger, County Attorney's Office, James Gerard Smalley, Fairfax, Va., for appellees.
      E.D.Va.
      AFFIRMED.
      Before DONALD RUSSELL, WIDENER and K.K. HALL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Louella F. Benson appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Benson v. Threadgill, CA-90-450-A (E.D.Va. Sept. 14, 1990).*   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         Benson's request to file her motion entitled "Motion to Inform Court" is granted and the information contained therein has been filed as a supplemental informal brief
      
    
    